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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICAN-ARAB ANTI-                  )
DISCRIMINATION COMMITTEE            )
                                    )
            Plaintiff,              )
                                    )
      v.                            )   Civil Action No. 1:17-cv-00708-CRC
                                    )
U.S. CUSTOMS AND BORDER             )
PROTECTION,                         )
                                    )
            Defendant.              )
____________________________________)

                                 [PROPOSED] ORDER

       Upon consideration of Defendant’s motion for summary judgment, it is hereby ORDERED

that the motion is GRANTED and final judgment is ENTERED for Defendant in the above-

captioned matter.

       SO ORDERED.


Dated: ________________                         _________________________________
                                                HON. CHRISTOPHER R. COOPER
                                                United States District Judge
